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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI, DIVISION
In re: : CASE NO.: 19-26388-LMI

ALEXEI A. MARQUEZ,
CHAPTER 7

Debtors.
CHAPTER 7 TRUSTEE’S EX PARTE MOTION TO DISMISS CASE
COMES NOW Robert A. Angueira (hereinafter the ““Trustee”), files this Ex Parte Motion
to Dismiss Case for Failure by the Debtors to Appear at the First Meeting of Creditors, and in

support, states as follows:

1; A first meeting of creditors was scheduled in this case on January 8, 2020.
Zs The Debtors failed to appear at the first meeting of creditors as required by 11
U.S.C. §343.

The Trustee respectfully request that this Court enter an order dismissing this case
pursuant to Local Rule 1017-2(B)(1).

Respectfully submitted on this l 3 day of January, 2020.

ROBERT A. ANGUEIRA
Chapter 7 Trustee

16 SW 1*' Avenue

Miami, FL 33130

Tel. (305) 263-3328

e-mail trustee@rabankruptcy.com

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ROBERT A. aNGHE
Chapter 7 Trustee
Florida Bar No. 083 a
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CERTIFICATE OF SERVICE

 

I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this
ee, day of January, 2020, to all parties on the enclosed mailing matrix.
I CERTIFY that a true and correct copy of the foregoing was served via the Notice of

Electronic Filing on this Ee day of January, 2020, to:

e Robert A Angueira  trustee@rabankruptcy.com,
f179@ecfcbis.com:raa@trustesolutions.net;tassistant(@rabankruptcy.com:richard@rabank
ruptcy.com;lillian@rabankruptcy.com

e Robert Sanchez, Esq court(@bankruptcyclinic.com, r51375@notify.bestcase.com

° Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

ROBERT A. ANGUEIRA
Chapter 7 Trustee

16 SW 1*' Avenue

Miami, FL 33130

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By ba t— ay ‘ii
ROBERT A. ANGUEI
Chapter 7 Trustee

Florida Bar No. 0833241
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Case 19-26388-LMI
Southern District of Florida

Credit One Bank

Attn: Bankruptcy

Po Box 98873

las Vegas, NV 89193-8873

Maria A Franco
6885 W 7th Avenue $903
Hialeah, FL 33014-4800

Verizon Wireless

Attn: Verizon Wireless Bankruptcy Admini
500 Technology Dr, Ste 550

Weldon Spring, MO 63304-2225

Alexei A Marquez
4658 Palm Avenue
Bialeah, FL 33012-4036

Account Resolution Services
Attn: Bankruptcy

Po Box 459079

Sunrise, FL 33345-9079

Department of Revenue
State Disbursement Unit
POB 8500

Tallahassee, FL 32314-8500

Zurich American Insurance Company of
Illinois

1400 American Lane Corporate Law
Schaumburg, IL 60196-0001

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Capital One

Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130-0285

ERC/Enhanced Recovery Corp
Attn: Bankruptcy

8014 Bayberry Road
Jacksonville, FL 32256-7412

Top Asset Solutions,
10005 Nw 21st st
Doral, FL 33172-2503

Zurich American Insurance Companyas

as Subrogee for Miami Air Mechanical Inc
c/o Steven J. Jacobson, Esq.

5701 N. Pine Isaland Rd. $320

Fort Lauderdale, FL 33321-4400
